
PER CURIAM.
To be timely, a notice of appeal must be filed with the appropriate court within 30 days of rendition of the order on appeal. Fla. R.App. P. 9.110(b). Merely mailing the notice or having the notice placed in a post office box within the required time period is not sufficient. Raysor v. Raysor, 706 So.2d 400, 401 (Fla. 1st DCA 1998). Further, the filing of a notice of appeal is jurisdictional. Florida courts are required to dismiss an appeal if the notice is not filed within the applicable time limit. See Miami-Dade County v. Peart, 843 So.2d 363 (Fla. 3d DCA 2003).
Here, the order was rendered on December 5, 2012. The thirtieth day following rendition was January 4, 2013. Although appellant represents that he mailed the notice within 30 days of rendition, appellant’s notice of appeal was not filed with the court until January 7, 2013. Therefore, the Court’s jurisdiction was not timely invoked and the appeal must be dismissed as untimely.
DISMISSED.
VAN NORTWICK, LEWIS, and SWANSON, JJ., concur.
